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                          UNITED STATES DISTRICT COURT 

                       FOR THE DISTRICT OF SOUTH CAROLINA 

                              CHARLESTON DIVISION 


ELVIS MOODIE, RAYON FISHER,                           )
DESMOND ELLIS, and                                    )
KEISHA COLLINS-ENNIS, on behalf of                    )
themselves and all others similarly situated,         )
                                                      )       Case No. 2: 15-cv-Ol097-RMQ\D
       Plaintiffs,                                    )
                                                      )
v.                                                    )

                                                      )

KIA WAH ISLAND INN COMPANY, LLC,                      )

d/b/a KIA WAH ISLAND GOLF RESORT,                     )

                                                      )

       Defendant.                                     )

-------------------------------)

                                 FINAL JUDGMENT ORDER

       This matter is before the Court on the parties' Joint Motion for Final Approval of Class

Action Settlement and Entry of Final Judgment (Dkt. No. 173) and Plaintiffs' Motion for

Approval of Costs and Attorneys' Fees (Dkt. No. 174). The Court previously granted

preliminary approval to the class action settlement in this case on June 14, 2016. (Dkt. No. 170.)

After a final fairness hearing with respect to the class action settlement on December 16, 2016,

the Court entered Findings of Fact and Conclusions of Law, finding and concluding that the

settlement and its terms are fair, reasonable, and adequate. (Dkt. No. 176.)

       Based on the foregoing, IT IS HEREBY ORDERED:

        1.     The Court approves the settlement and its terms as fair, reasonable, and adequate,

and the parties' joint motion for final approval of the class action settlement (Dkt. No. 173) is

GRANTED.
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        2.     The Court GRANTS Plaintiffs' motion for approval of costs and attorney's fees

for class counsel (Dkt. No. 174) in the amount of $300,000.00.

        3.     Settlement Services, Inc., of Tallahassee, Florida, is appointed to act as the

Settlement Administrator, pursuant to the terms of the settlement, and will work under the

direction of Class Counsel.

        4.     By means of this Order, this Court hereby enters final judgment in this action, as

defined by Federal Rule of Civil Procedure 58(a)( 1).

        5.     Without affecting the finality of this final judgment in any way, the Court retains

jurisdiction of all matters relating to the interpretation, administration, implementation,

effectuation, and enforcement of this Order and the settlement. Kikkonen v. Guardian Life Ins.

Co., 511 U.S. 375,380-82 (1994).

       6.      The parties are hereby ordered to implement and comply with the terms ofthe

settlement.

       7.      This action is dismissed with prejudice, subject to the terms of the settlement

agreement.

       AND IT IS SO ORDERED.




       December I b, 2016
       Charleston, South Carolina
